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                                        40.

                                                         40               ’ Complaint.

                                        41.

                                                                                         1

Plaintiffs’                                                                  1               ’

Complaint.



                                        42.

                                                   2              ’

                                              2               ’



                                        43.

                                                   ’



                                        44.



              ’ Complaint.




        (a)                  ’

        (b)                                                           s

        (c)

                                 1st   September 2023.
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